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                           UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
                                                                                           FIL.ED
                                                                                2015 OCT 15 1,;111: 2:
UNITED STATES OF AMERICA,                       CASE NO. 15cr2449-BTM                               r;Ol!fll
                                                                                 L'''' ,           i;,'.Ull)flM
                                                                                 ,h "

                                                                                                        '-)Cpt 1'1
                          Plaintiff,                                             -~,v.

                                                                                            -rtl
                   vs.                          JUDGMENT OF DISMISSAL
SANTO SUGEY GONZALEZ-BORQUEZ
 (2) ,

                          Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

         an indictment has been filed in another case against the defendant and
         the Court has granted the motion of the Government for dismissal of
         this case, without prejudice; or

         the Court has dismissed the case for unnecessary delay; or

-X_      the Court has granted the motion of the Government for dismissal,
         without prejudice; or

         the Court has granted the motion of the defendant for a judgment of
         acquittal; or

         a jury has been waived, and the Court has found the defendant not
         guilty; or

         the jury has returned its verdict, finding the defendant not guilty;

~        of the offense(s) as charged in the Information:

         21:952,   960; 18:2



              IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: OCTOBER 15, 2015                         ~
                                                Nita L. Stormes
                                                U.S. Magistrate Judge
